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               IN THE UNITED STATES DISTRICT COURT
     FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


JAMES KLUPPELBERG,                                )
                                                  )
           Plaintiff,                             )
                                                  )
           vs.                                    )
                                                  )
JON BURGE, LEONARD ROLSTON #11935,                )
JOHN SCHMITZ #14634, WILLIAM FOLEY                )
#8108, WILLIAM KELLY #3644, DETECTIVE             )
URBON #15400, THOMAS PTAK #6029,                  )
MICHAEL DUFFIN #13596, GEORGE JENKINS             )
#11828, DETECTIVE NELSON #16164,                  )
DETECTIVE VEGA #3464, DETECTIVE W.                )
MICEK #4645, DETECTIVE GUEST #10600,              )
DETECTIVE L. TUIDER #5648, FRANCES                )
BURNS, WILLIAM ALLETTO, as-of-yet                 )
UNKNOWN EMPLOYEES OF THE CITY OF                  )
CHICAGO and THE CITY OF CHICAGO,                  )
                                                  )
           Defendants.                            )     JURY TRIAL DEMANDED


                                  COMPLAINT


     NOW COMES Plaintiff, JAMES KLUPPELBERG, by and through his

attorneys, LOEVY & LOEVY, complaining of Defendants, JON BURGE,

LEONARD ROLSTON #11935, JOHN SCHMITZ #14634, WILLIAM FOLEY

#8108, WILLIAM KELLY #3644, DETECTIVE URBON #15400, THOMAS PTAK

#6029, MICHAEL DUFFIN #13596, GEORGE JENKINS #11828, DETECTIVE

NELSON #16164, DETECTIVE VEGA #3464, DETECTIVE W. MICEK #4645,

DETECTIVE GUEST #10600, DETECTIVE L. TUIDER #5648, FRANCES

BURNS, WILLIAM ALLETTO, and as-of-yet UNKNOWN EMPLOYEES OF THE
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CITY OF CHICAGO (collectively “Defendants”), and THE CITY OF

CHICAGO, and alleges as follows:

                                Introduction

     1.    Plaintiff James Kluppelberg spent more than two

decades in prison for an arson-murder that he did not commit.

     2.    Mr. Kluppelberg was convicted after the police

manipulated witnesses, fabricated evidence and withheld

information that would have demonstrated his absolute innocence

of this crime.

     3.    Despite Mr. Kluppelberg’s innocence, the Defendants

beat a false confession out of him, hitting him so violently

that he was urinating blood.         The trial court ultimately

suppressed Mr. Kluppelberg’s confession, finding that it was

“obvious” that Mr. Kluppelberg had been severely mistreated, but

not before the confession was used by the Defendants to set in

motion Mr. Kluppelberg’s wrongful arrest and prosecution.

     4.    To corroborate Mr. Kluppelberg’s false confession, the

Defendants coerced false witness statements allegedly

establishing how Mr. Kluppelberg purportedly set fire to a home,

in which six people were killed.           The Defendants knew that these

statements were absolutely false and the by-product of their

coercion, but nonetheless withheld that information from Mr.

Kluppelberg.




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     5.     Additionally, to buttress the false confession and

witness statements, the Defendants conspired to fabricate arson

evidence.    Although the original fire investigators found that

the origin and cause of the fire could not be determined because

of the complete destruction of the building and the absence of

any accelerant, the Defendants ignored this scientifically sound

conclusion and instead manufactured bogus “findings” to

corroborate the false witness statements.            Just as with the

confession and statements, the Defendants knew that this

evidence was false but nonetheless used it to wrongfully convict

Mr. Kluppelberg.

     6.     Indeed, well before Mr. Kluppelberg’s arrest and

conviction, the Defendants were aware of a likely, alternative

suspect for the arson.       This person had admitted to setting fire

to a nearby home and to possibly having set the fire for which

Mr. Kluppelberg was ultimately arrested and wrongfully

convicted.    Despite the obvious exculpatory value of this

information, it was never disclosed to Mr. Kluppelberg or his

defense attorneys nor even to the prosecutor.              It was

intentionally buried in violation of Mr. Kluppelberg’s

constitutional rights.

     7.     As a result of the Defendants’ misconduct, Mr.

Kluppelberg was wrongfully convicted of arson and murder and

sentenced to life in prison.


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     8.     After serving 24 years in prison for crimes that he

did not commit, Mr. Kluppelberg was eventually released when the

State moved to dismiss all charges against him.              He brings the

instant action to seek redress for the violation of his rights.

                          Jurisdiction and Venue

     9.     This action is brought pursuant to 42 U.S.C. § 1983 to

redress the deprivation under color of law of Plaintiff’s rights

as secured by the United States Constitution.

     10.    This Court has jurisdiction pursuant to 28 U.S.C. §

1331.     Venue is proper under 28 U.S.C. § 1391(b).            The events

giving rise to this complaint occurred in this judicial

district.

                                 The Parties

     11.    Plaintiff is a 47 year-old father of three children.

Prior to his wrongful arrest for this murder, Plaintiff worked

in home remodeling and repair for Chicago Standard Decorating

and Remodeling, and for his own company.            Since his release,

Plaintiff has been working as a machine assistant.

     12.    Defendants Jon Burge, Leonard Rolston #11935, John

Schmitz #14634, William Foley #8108, William Kelly #3644, Thomas

Ptak #6029, Michael Duffin #13596, George Jenkins #11828,

Detective Urbon #15400, Detective Nelson #16164, Detective Vega

#3464, Detective W. Micek #4645, Detective Guest #10600, and

Detective L. Tuider #5648 are current or former police officers


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with the City of Chicago Police Department (“Department”).                 Each

of the Defendant Officers is sued in his individual capacity,

and each acted under color of law and in the scope of his

employment in engaging in the actions alleged in this Complaint.

     13.   Defendants Frances Burns and William Alleto are

current or former employees of the Chicago Fire Department.

They are sued in their individual capacity and acted under color

of law and in the scope of their employment in engaging in the

actions alleged in this Complaint.

     14.   Defendant City of Chicago is a municipal entity that

employs or employed the Defendants, including the as-of-yet

unknown Defendants.

                                   The Fire

     15.   On March 24, 1984, a fire consumed the house at 4448

South Hermitage, killing six people and injuring another. In

addition, the fire burned the two adjacent houses.

     16.   Plaintiff had absolutely nothing whatsoever to do with

setting fire to the home.        To the contrary, on the night of the

fire, Mr. Kluppelberg had been hanging out with other people at

his then-girlfriend Dawn Gramont’s apartment.

     17.   At the time of the fire, the Bomb and Arson Unit of

the Chicago Police Department – then the official and only fire

investigation unit in the City – conducted an investigation.

The detectives involved in the investigation concluded that the


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cause and origin of the fire could not be determined due to the

extensive burning and collapse of the building.              Further, tests

of the debris from the fire to determine whether a fire

accelerant was used came back negative.            Therefore, in April

1984, the police department closed the case as “apparent

accidental fire deaths.”

                      Plaintiff’s False Confession

     18.   After the police department closed the case, there was

no additional investigation into the fire for nearly four years,

when another man was arrested and charged with burglary, theft,

and violation of probation.         When that man was arrested, he was

on probation and had two prior burglary charges.

     19.   In an effort to avoid prison time on his own charges,

the man referenced in the preceding paragraph falsely implicated

Mr. Kluppelberg in the fire at 4448 South Hermitage that had

occurred years earlier.

     20.   Thereafter, in January 1988, Mr. Kluppelberg was

arrested and charged with arson and murder stemming from the

1984 fire.

     21.   When Mr. Kluppelberg spoke to the police, rather than

listen to his protestations of innocence, the Defendants

severely beat him: handcuffed behind his back and completely

defenseless, the Defendants threw Mr. Kluppelberg onto the floor

and punched him in the back and kicked him in the kidney area.


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The Defendants would not relent until Mr. Kluppelberg falsely

confessed to having started the fire at 4448 South Hermitage.

     22.    As a result of this vicious attack by the Defendants,

Mr. Kluppelberg was urinating blood; he was taken to the doctor

after the guards in the jail found him doubled over in the

bathroom.    The doctor who treated Mr. Kluppelberg diagnosed him

with trauma and a hematoma to his lower back and kidneys.

     23.    Faced with this evidence, the trial court suppressed

the statement that the Defendants beat out of Mr. Kluppelberg.

The court held that it was “obvious” that Mr. Kluppelberg “was

mistreated by the police.”

                    The Defendants Coerce Witnesses

     24.    Mr. Kluppelberg, however, was not the only person who

was mistreated by the Defendants.          Indeed, rather than search

for the true perpetrator, the Defendants threatened and coerced

witnesses into falsely implicating Mr. Kluppelberg.

     25.    When Mr. Kluppelberg was arrested, his then-

girlfriend, Dawn Gramont, was also taken to the police station

and held in custody there until she testified before the grand

jury.   Ms. Gramont told the Defendants that Mr. Kluppelberg

could not have started the fire at 4448 South Hermitage because

he was with her that night.         The Defendants, however, were not

happy with that truth.       As a result, when Ms. Gramont refused to

go along with the Defendants’ fabricated story inculpating Mr.


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Kluppelberg, the Defendants pushed her head against the door,

hit her with a flashlight and threatened to hurt her children.

The Defendants then told Ms. Gramont what they wanted her to say

– i.e., that Plaintiff was involved in the fire.              Because she

was scared, Ms. Gramont parroted back the Defendants’ fabricated

story to the grand jury, but as soon as she was released from

custody she went to the Office of Professional Standards (“OPS”)

to lodge a complaint.

                         The Defendants Conspire
                       to Fabricate Arson Evidence

     26.   In addition to beating Mr. Kluppelberg and threatening

witnesses, the Defendants also fabricated arson evidence to

falsely implicate Mr. Kluppelberg in the crime.

     27.   In March 1984, the Bomb and Arson Unit of the Chicago

Police Department was charged with investigating fires and, as

such, investigated the fire at 4448 South Hermitage.                Although

the Bomb and Arson Unit found that the cause and origin of the

fire at 4448 South Hermitage could not be determined due to the

extensive destruction of the building and the absence of an

accelerant, the Defendants refused to accept this scientifically

sound conclusion.

     28.   Instead, the Defendants conspired to manufacture arson

evidence to corroborate Mr. Kluppelberg’s false confession and




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the fabricated witness statements.          To do so, the Defendants

enlisted the help of Defendants Burns and Alletto.

     29.    In March 1984, Defendants Burns and Alletto were part

of an organization, the Office of Fire Investigations (“OFI”),

which had yet to become operational.           Defendants Burns and

Alletto purportedly went to 4448 South Hermitage with several

apprentice fire investigators and performed a training exercise.

Neither Defendant Burns nor Alletto took notes.              Nor did either

make a contemporaneous report of their findings.              Nonetheless,

four years later, Defendants Burns and Alletto asserted that

based on their experience and the alleged burn patterns at the

house, they determined that the fire was an arson.               Defendants

Burns and Alletto knew that their “findings” were scientifically

indefensible and wholly fabricated, but did not disclose that

fact to Mr. Kluppelberg or his defense attorney.

                        The Defendants Withhold
                     Critical Exculpatory Evidence

     30.    Not only did the Defendants fabricate evidence against

Mr. Kluppelberg, they also withheld evidence that would have

exculpated him; in particular, the confession of an alternate

offender.

     31.    About 15 hours before the fire at 4448 South Hermitage

broke out, a house nearby at 4504 South Marshfield was burned to




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the ground.    The fire communicated to the buildings adjacent to

4504 South Marshfield.

     32.   The parallels between the fire at 4504 South

Marshfield and 4448 South Hermitage are striking.

     33.   A woman admitted to setting the fire at 4504 South

Marshfield, for which she was ultimately convicted. She said

that she spent the next 12 hours or more wandering around to

different bars on Ashland Avenue.

     34.   She also told the Defendants that she “may have set”

the fire at 4448 South Hermitage but “[b]ecause of her

intoxicated condition” she could not remember specifically

having set it.

     35.   None of this critical information was known to Mr.

Kluppelberg at the time of his criminal trial.              Despite the

manifest exculpatory value, the Defendants failed to disclose

either the fact of this confession or the attendant police

report.    This failure to disclose is particularly egregious

since a number of the Defendants responsible for investigating

the fire on Hermitage were also responsible for investigating

the fire on Marshfield.

                        The Malicious Prosecution

     36.   In July 1989, Plaintiff stood trial for arson and

murder.




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     37.   Based upon the witnesses’ coerced testimony, and the

manufactured arson evidence, and without access to the

exculpatory police report that demonstrated that someone other

than Mr. Kluppelberg was responsible for this crime, Mr.

Kluppelberg was wrongfully convicted of arson and murder.

     38.   During pretrial and trial proceedings, the Defendants

committed perjury, including stating that Mr. Kluppelberg was

not beaten, that Ms. Gramont was not threatened and by outright

fabricating arson evidence.

     39.   Mr. Kluppelberg was sentenced to life in prison.

                         Plaintiff’s Exoneration

     40.   Throughout his incarceration, Mr. Kluppelberg was

steadfast in his efforts to prove his innocence.

     41.   In 2008, Mr. Kluppelberg located previously

undisclosed evidence establishing his innocence.

     42.   Faced with this evidence, the State dismissed all

charges against Mr. Kluppelberg in a manner indicative of his

innocence.    After spending 24 years incarcerated for a crime

that he did not commit, Plaintiff was finally free.

                           Plaintiff’s Injuries

     43.   Mr. Kluppelberg spent more than two decades in prison

for a crime that he did not commit.           Plaintiff must now attempt

to make a life for himself outside of prison without the benefit




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of 24 years of life experiences, which normally equip adults for

that task.

     44.   Additionally, the emotional pain and suffering caused

by losing nearly 24 years in the prime of life has been

substantial.    During his wrongful incarceration, Mr. Kluppelberg

was stripped of the various pleasures of basic human experience,

from the simplest to the most important, which all free people

enjoy as a matter of right.         He missed out on the ability to

share holidays, births, funerals and other life events with

loved ones, the opportunity to pursue a career, and the

fundamental freedom to live one’s life as an autonomous human

being.

     45.   As a result of the foregoing, Plaintiff has suffered

tremendous damage, including physical suffering, all proximately

caused by Defendants’ misconduct.

                       Count I -- 42 U.S.C. § 1983

                                 Due Process

     46.   Each of the paragraphs of this Complaint is

incorporated as if restated fully herein.

     47.   As described more fully above, all of the Defendants,

while acting individually, jointly and in conspiracy, as well as

under color of law and within the scope of their employment,

deprived Plaintiff of his constitutional right to a fair trial.




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     48.   In the manner described more fully above, the

Defendants deliberately withheld exculpatory evidence,

wrongfully coerced incriminating statements, and fabricated

false reports and other evidence, thereby misleading and

misdirecting the criminal prosecution.            Absent the totality of

this misconduct, Plaintiff could not and would not have been

prosecuted.

     49.   The Defendants’ misconduct directly resulted in the

unjust criminal conviction of Plaintiff, thereby denying him his

constitutional right to a fair trial, and a fair appeal thereof,

in violation of the Due Process Clause of the Fifth and

Fourteenth Amendments to the United States Constitution.

     50.   As a result of this violation of his constitutional

right to a fair trial, Plaintiff suffered injuries, including

but not limited to, emotional distress more fully alleged above.

     51.   The misconduct described in this Count was objectively

unreasonable and was undertaken intentionally with willful

indifference to Plaintiff’s constitutional rights.

     52.   The misconduct described in this Count was undertaken

by employees and agents of the City of Chicago, including but

not limited to the Defendants, pursuant to the policies and

practices of the Chicago Police Department and Chicago Fire

Department to pursue wrongful convictions through profoundly

flawed investigations.       This includes but is not limited to


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coercing false statements through violent and unduly coercive

interrogations, which include threats and violence, consistent

with the manner in which Plaintiff and Ms. Gramont were

interrogated.     It also includes system-wide use of bogus arson

science to manufacture false, inculpatory evidence, such as

relying on “burn patterns,” which were debunked well before the

fire for which Mr. Kluppelberg was wrongfully convicted.

     53.   In this way, the City of Chicago violated Plaintiff’s

rights by maintaining policies and practices that were the

moving force driving the foregoing constitutional violations.

     54.   These widespread practices, so well-settled as to

constitute de facto policy in the Chicago Police Department and

Chicago Fire Department, were able to exist and thrive because

municipal policymakers with authority over the same exhibited

deliberate indifference to the problem, thereby effectively

ratifying it.

     55.   The widespread practices described in the preceding

paragraphs were allowed to flourish because the City declined to

implement sufficient training and/or any legitimate mechanism

for oversight or punishment.

                       Count II – 42 U.S.C. § 1983

                           Failure to Intervene

     56.   Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.


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     57.    In the manner described above, during the

constitutional violations described above, one or more of the

Defendants stood by without intervening to prevent the

misconduct.

     58.    As a result of the Defendants’ failure to intervene to

prevent the violation of Plaintiff’s constitutional rights,

Plaintiff suffered pain and injury, as well as emotional

distress.    These Defendants had a reasonable opportunity to

prevent this harm, but failed to do so.

     59.    The misconduct described in this Count was objectively

unreasonable and was undertaken intentionally with willful

indifference to Plaintiff’s constitutional rights.

     60.    The misconduct described in this Count was undertaken

pursuant to the City of Chicago’s policies and practices in the

manner described in the preceding paragraphs.

                      Count III -- 42 U.S.C. § 1983

             Conspiracy to Deprive Constitutional Rights

     61.    Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

     62.    After the murder at issue, the Defendants reached an

agreement amongst themselves to frame Plaintiff for the crime,

and to thereby deprive Plaintiff of his constitutional rights,

all as described in the various Paragraphs of this Complaint.




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     63.   Independently, before and after Plaintiff’s

conviction, each of the Defendants further conspired, and

continued to conspire, to deprive Plaintiff of exculpatory

materials to which he was lawfully entitled and which would have

led to his more timely exoneration of the false charges as

described in the various Paragraphs of this Complaint.

     64.   In this manner, the Defendants, acting in concert with

other unknown co-conspirators, including persons who are not

members of the Chicago Police Department or Chicago Fire

Department, have conspired by concerted action to accomplish an

unlawful purpose by an unlawful means.

     65.   In furtherance of the conspiracy, each of the co-

conspirators committed overt acts and was an otherwise willful

participant in joint activity.

     66.   As a direct and proximate result of the illicit prior

agreement referenced above, Plaintiff’s rights were violated,

and he suffered financial damages, as well as severe emotional

distress and anguish, as is more fully alleged above.

     67.   The misconduct described in this Count was undertaken

with malice, willfulness, and reckless indifference to the

rights of others.

     68.   The misconduct described in this Count was undertaken

pursuant to the policies and practices of the City of Chicago in

the manner described more fully in preceding paragraphs, and was


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tacitly ratified by policymakers for the City of Chicago with

final policymaking authority.

                      Count IV -- 42 U.S.C. § 1983

                           Supervisor Liability

     69.   Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

     70.   The constitutional injuries complained of herein were

proximately caused by a pattern and practice of misconduct,

which occurred with the knowledge and consent of those of the

Defendants who acted in a supervisory capacity, such that these

officers personally knew about, facilitated, approved, and/or

condoned this pattern and practice of misconduct, or least

recklessly caused the alleged deprivation by their actions or by

their deliberately indifferent failure to act.

     71.   Defendant Burge was personally involved in the

investigation at issue here and made public comments falsely

attributing the crime to Mr. Kluppelberg.            He also supervised

some, if not all, of the Defendants who committed the

constitutional violations at issue here.

     72.   Defendant Burge knew that the practice at Area Three

and of these Defendants was to falsely inculpate suspects by

coercing and fabricating false, incriminating statements.

Nonetheless, Defendant Burge turned a blind eye to this

practice, and let it continue under his supervision.


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     73.    The misconduct described in this Count was undertaken

with malice, willfulness, and reckless indifference to the

rights of others.

     74.    The misconduct described in this Count was undertaken

pursuant to the City’s policies and practices in the manner more

fully described above.

     75.    As a result of this violation, Plaintiff suffered

injuries, including but not limited to emotional distress, as is

more fully alleged above.

                       Count V -- State Law Claim

            Intentional Infliction of Emotional Distress

     76.    Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

     77.    In the manner described more fully above, by

wrongfully inculpating Plaintiff in a crime he did not commit,

Defendants intended to cause emotional distress.

     78.    In doing so, Defendants’ conduct was extreme and

outrageous and caused Plaintiff severe, disabling emotional

distress.

     79.    The misconduct described in this Count was undertaken

with malice, willfulness, and reckless indifference to the

rights of others.




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     80.   As a result of this misconduct, Plaintiff sustained

injuries, including emotional pain and suffering, as is more

fully alleged above.

                        Count VI– State Law Claim

                           Malicious Prosecution

     81.   Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

     82.   Defendants caused Plaintiff to be improperly subjected

to judicial proceedings for which there was no legitimate

probable cause.     These judicial proceedings were instituted and

continued maliciously, resulting in injury, and all such

proceedings were ultimately terminated in Plaintiff’s favor in a

manner indicative of innocence.

     83.   Defendants accused Plaintiff of criminal activities

knowing those accusations to be without genuine probable cause,

and made statements to the police and/or prosecutors with the

intent of exerting influence to institute and continue the

judicial proceedings.

     84.   Defendants also fabricated evidence and failed to

disclose the manner in which that evidence was fabricated.

Additionally, the Defendants withheld evidence that would have

proven Plaintiff’s innocence.




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     85.   The misconduct described in this Count was undertaken

with malice, willfulness, and reckless indifference to the

rights of others.

     86.   As a result of this misconduct, Plaintiff sustained

injuries, including emotional pain and suffering, as more fully

alleged above.

                      Count VII -- State Law Claim

                            Respondeat Superior

     87.   Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

     88.   In committing the acts alleged in the preceding

paragraphs, Defendants were members and agents of the Chicago

Police Department and/or Chicago Fire Department, acting at all

relevant times within the scope of their employment.

     89.   Defendant City of Chicago is liable as the principal

for all torts committed by its agents.

                      Count VIII -- State Law Claim

                              Indemnification

     90.   Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

     91.   Illinois law provides that public entities are

directed to pay any tort judgment for compensatory damages for

which employees are liable within the scope of their employment

activities.


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     92.   The Defendants are or were employees of the Chicago

Police Department and/or the Chicago Fire Department, and acted

within the scope of their employment in committing the

misconduct described herein.

     WHEREFORE, Plaintiff, JAMES KLUPPELBERG, respectfully

requests that this Court enter judgment in his favor and against

the Defendants, JON BURGE, LEONARD ROLSTON #11935, JOHN SCHMITZ

#14634, WILLIAM FOLEY #8108, WILLIAM KELLY #3644, THOMAS PTAK

#6029, MICHAEL DUFFIN #13596, GEORGE JENKINS #11828, DETECTIVE

URBON #15400, DETECTIVE NELSON #16164, DETECTIVE VEGA #3464,

DETECTIVE W. MICEK #4645, DETECTIVE GUEST #10600, DETECTIVE L.

TUIDER #5648, FRANCES BURNS, WILLIAM ALLETTO, AS-OF-YET UNKNOWN

EMPLOYEES OF THE CITY OF CHICAGO AND THE CITY OF CHICAGO, and

awarding compensatory damages, costs and attorneys’ fees, along

with punitive damages against each of the Defendants in their

individual capacities along with whatever additional relief this

Court deems appropriate.




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                                 JURY DEMAND

     Plaintiff, JAMES KLUPPELBERG, hereby demands a trial by

jury pursuant to Fed. R. Civ. P. 38(b) on all issues so triable.



                                            RESPECTFULLY SUBMITTED,


                                                /s/Gayle Horn        _



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Gayle Horn
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